Case 2:04-cr-20463-.]PI\/| Document 28 Filed 07/11/05 Page 1 of 2 Page|D 43

 

IN THE UNITED sTATES DISTRICT COURT FlLED BY p_¢_
wESTERN DISTRICT oF TENNESSEE `__
wEsTERN DIvIsIoN OSJUL ll p" w us
UNITED sTATEs oF AMERICA, U\US.I_¥%H?UCC!BT
W/DOF?NMFMPHS
vs. NO. 04-20463-Ma
TIMOTHY vO,
Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Jon
Phipps McCalla in exchange for Case No. 2:04cr20462, United
States of America v. Martin Rhea. The parties shall, on all
pleadings and correspondence related to this matter, change the
judge’s initials in the case number from “Ma” to “Ml.”

lt is so ORDERED this l‘d\ day of July, 2005.

.M/M--

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

'i'his doc\.mant entered on the docket sheet !n£c?npl!a e
wm ama 55 and/or azrb) Fnch on id

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20463 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

.1 ack McNeil

MCNEIL LAW OFFICE
147 .1 efferson Ave.

Ste. 1 104

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

